Case 4:24-cv-00897 Document 60 Filed on 01/28/25 in TXSD Page 1of8

IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Joanna Burke ) CIVIL ACTION No.

) 4:24-cv-00897
Plaintiff )

vs. )

)
Deutsche Bank National Trust Company, PHH_ )
Mortgage Corporation, AVT Title Services, ) United States Courts
LLC, Mackie Wolf Zientz & Mann, PC, Judge ) Souther District of Texas

Tami Craft aka Judge Tamika Craft-Demming, FILED

)

Judge Elaine Palmer, Sashagaye Prince, Mark D JAN 28 2025
Hopkins, Shelley L Hopkins, Hopkins Law,
PLLC, John Doe, and/or Jane Doe ‘Nathan Ochsner, Clerk of Court

Defendants

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VERIFIED RESPONSE TO PHH MORTGAGE CORPORATION’S MOTION FOR
LEAVE TO EXCEED WORD COUNT

TO THE HONORABLE JUDGE, AND ALL INTERESTED PARTIES:

Disclaimer by Plaintiff —- Reservation of Rights
As the docket is currently a shambles - due to delivered mail from the Plaintiff not being
docketed or docketed timely - this response reaffirms Plaintiff’s prior and continuing reservation
of ail rights, as necessary.

DEFENDANTS SHOULD BE ESTOPPED FROM PLAYING FAST AND LOOSE WITH
THIS COURT’S LOCAL RULES

The Defendants latest motion plays fast and loose with the local rules and their past position
in this case as detailed in Plaintiff Joanna Burke’s VERIFIED REPLY TO PHH MORTGAGE

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CORPORATION’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR LEAVE
TO FILE SURREPLY (Doc. 48).

As Plaintiff explained in that motion, the Defendants’ counsel is well-versed in this court’s
procedures and local rules, yet they continually violate the rules, including the fact that leave to
file excess words does not address all the deficiencies in their motion for summary judgment.

For example, Defendants motion is more than ten pages and violates Judge Eskridge’s rules
and Court Procedure at18(e). In short, Defendant’s motion does not comply with the format either.

Additionally, the latest motion does not comply with LR 7.1 B. (legal authority) and LR 7.1

C. (no proposed order submitted or present on the docket).

NEW BRIEFING SCHEDULE AND WORD COUNT

Furthermore, if Defendant is granted leave to file a motion that supersized, Plaintiff
respectfully requests that this court follow Gordon v. Hyatt House Franchising, LLC, 4:22-cv-
00092, at *1 (S.D. Tex. June 11, 2024) (“I. Rule violations and summary judgment motions”) and
allow a “fresh start” and new briefing schedule adopted which allows both parties up to 7,500

words, thus terminating all current pleadings.

PERMISSION FOR PLAINTIFF TO FILE ELECTRONICALLY

Finally, returning to Plaintiff's prior and continued reservation of rights, and considering the
shambles of the current docket which still does not show nor address the “lost” USPS Express
Mail with several pleadings and cover letter as signed for by the court on November 15, 2024,
Plaintiff civilly requests that this court permit Joanna Burke to file clectronically to prevent any

further delays.
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DECLARATION

Pursuant to Texas Civil Practice and Remedies Code Section 132.001 and “In lieu of a
sworn affidavit, a litigant may submit an unsworn declaration as evidence against summary
judgment. See 28 U.S.C. §1746.”, [hereby provide my unsworn declaration. My name is Joanna
Burke, my date of birth is Nov. 25, 1938, my address is 46 Kingwood Greens Dr, Kingwood,
Texas, 77339, and I declare under penalty of perjury that all information herein is true and correct.

CONCLUSION

For the reasons outlined above, the Plaintiff requests that the Court denies the Defendants
Motion and grant the relief requested herein. To the extent this court maintains the opinion it has
jurisdiction in these proceedings, the Motion for Leave to Exceed the Word Count should be
DENIED, and for any and all other relief to which Plaintiff is entitled.

RESPECTFULLY submitted this 14th day of January, 2025,

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Joanna Burke, Harris County
State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576 -

Email: joanna@2dobermans.com

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing document was served on January 14,
2025, as stated below on the following:

VIA U.S. Mail:
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Nathan Ochsner
Clerk of Court

P. O. Box 61010
Houston, TX 77208

VIA e-Mail:

Shelley L. Hopkins

Mark D. Hopkins

HOPKINS LAW, PLLC

2802 Flintrock Trace, Suite B103
Austin, Texas 78738
mark@hopkinslawtexas.com
shelley@hopkinslawtexas.com

PHH MORTGAGE CORPORATION

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Joanna Burke, Harris County
State of Texas / Pro Se

46 Kingwood Greens Dr
Kingwood, Texas 77339

Phone Number: (281) 812-9591
Fax: (866) 705-0576

Email: joanna@2dobermans.com
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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Joanna Burke ) CIVIL ACTION No.
) 4:24-cv-00897
Plaintiff )
vs. ORDER

)

Deutsche Bank National Trust Company, PHH )
Mortgage Corporation, AVT Title Services, )
LLC, Mackie Wolf Zientz & Mann, PC, Judge )

Tami Craft aka Judge Tamika Craft-Demming, ) .
Judge Elaine Palmer, Sashagaye Prince, Mark Dy
Hopkins, Shelley L Hopkins, )
Hopkins Law, PLLC, John Doe
and/or Jane Doe )

)
Defendants )

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ORDER

Plaintiff Joanna Burke’s VERIFIED RESPONSE TO PHH MORTGAGE
CORPORATION’S MOTION FOR LEAVE TO EXCEED WORD COUNT came on for hearing

before this Court on . After considering the Motion and all supporting

and opposing documents, and having heard oral argument of counsel, and otherwise being
duly advised on all matters presented on this cause, IT IS HEREBY ORDERED that
DEFENDANT’S Motion should be DENIED.

IT IS SO ORDERED.

Dated this day of , 2024

United States District/Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION

Joanna Burke ) CIVIL ACTION No,
) 4:24-cv-00897
Plaintiff )
VS. ) ORDER

Deutsche Bank National Trust Company, PHH_ )
Mortgage Corporation, AVT Title Services, )
LLC, Mackie Wolf Zientz & Mann, PC, Judge )

Tami Craft aka Judge Tamika Craft-Demming, )
Judge Elaine Palmer, Sashagaye Prince, Mark D )
Hopkins, Shelley L Hopkins, )
Hopkins Law, PLLC, John Doe
and/or Jane Doe )

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Defendants )

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ORDER

Plaintiff Joanna Burke’s VERIFIED RESPONSE TO PHH MORTGAGE
CORPORATION’S MOTION FOR LEAVE TO EXCEED WORD COUNT came on for hearing

before this Court on . After considering the Motion and all supporting

and opposing documents, and having heard oral argument of counsel, and otherwise being
duly advised on all matters presented on this cause, IT IS HEREBY ORDERED that
PLAINTIFF should be granted Electronic Filing Permissions during these proceedings.

IT IS SO ORDERED.

Dated this day of , 2024

United States District/Magistrate Judge
Case 4:24-cv-00897 Document 60 Filed on 01/28/25 in TXSD Page 7of8

Nathan Ochsner
Clerk of Court

P, O. Box 61010
Houston, TX 77208

Date: Jan 14, 2025
Via USPS Mail

Burke v. PHH Mortgage Corporation (4:24-cv-00897)
Reassigned to: Judge Eskridge/Magistrate Judge Bryan
District Court, 5.D. Texas

Dear Sir or Madam,

RE: JOANNA BURKE’S ENCLOSED FILINGS

Please find enclosed:-

1. VERIFIED REPLY TO PHH MORTGAGE CORPORATION'S MOTION FOR LEAVE
TO EXCEED WORD COUNT; ,
2. PROPOSED ORDER DENYING PHH MORTGAGE CORPORATION'S MOTION
FOR LEAVE TO EXCEED WORD COUNT;
3. PROPOSED ORDER GRANTING PLAINTIFF (JOANNA BURKE) ELECTRONIC
FILING PERMISSIONS DURING THESE PROCEEDINGS.

Sincerely,

Alem Dee

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Joanna Burke
46 Kingwood Greens Dr...

Kingwood, TX, 77339

Encls.

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Document 60

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